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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION


 RAYMOND DELANO PITTS,

        Plaintiff,
                                                                    Case No. 2:17-cv-12
 v.
                                                                    HON. JANET T. NEFF
 STEVEN BUDA, et al.,

        Defendants.
 ____________________________/


                                            ORDER

       This is a prisoner civil rights action filed pursuant to 42 U.S.C. § 1983. Defendants Steven

Buda, Steven Lehto and Andrew Mettler filed a motion for summary judgment (ECF No. 69). The

matter was referred to the Magistrate Judge, who issued a Report and Recommendation on April

26, 2019, recommending that this Court grant the motion and dismiss this case with prejudice. The

Report and Recommendation was duly served on the parties. No objections have been filed. See

28 U.S.C. § 636(b)(1). Therefore,

       IT IS HEREBY ORDERED that the Report and Recommendation (ECF No. 75) is

APPROVED and ADOPTED as the Opinion of the Court.

       IT IS FURTHER ORDERED that the Motion for Summary Judgment (ECF No. 69) is

GRANTED.

       IT IS FURTHER ORDERED that this Court certifies pursuant to 28 U.S.C. § 1915(a)(3)

that an appeal of this decision would not be taken in good faith. See McGore v. Wrigglesworth,
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114 F.3d 601, 610-11 (6th Cir. 1997), overruled on other grounds by Jones v. Bock, 549 U.S. 199,

206, 211-12 (2007).

       A Judgment will be entered consistent with this Order.



Dated: June 10, 2019                                         /s/ Janet T. Neff
                                                           JANET T. NEFF
                                                           United States District Judge




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